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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.          2:20-cv-08192-RGK                                               Date     November 6, 2020
 Title             In Re Debtor Altadena Lincoln Crossing, LLC, et al.




 Present: The Honorable            R. GARY KLAUSNER
                      Joseph Remigio                                            Not Reported
                       Deputy Clerk                                       Court Reporter / Recorder
                Attorneys Present for Appellant:                        Attorneys Present for Appellee:
                          Not Present                                            Not Present
 Proceedings:                 (IN CHAMBERS)


Pursuant to the parties Stipulaton for Dismissal of Appeal, this appeal is hereby dismissed. The Clerk
shall close this action.

cc:      bapca09filings@ca9.uscourts.gov
         cacborders@cacb.uscourts.gov




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                                                              Initials of Preparer    jre




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